         
               Case 2:24-cv-08364-CBM-SSC         Document 22-1     Filed 11/12/24   Page 1 of 16 Page
                                                       ID #:2509


                      1   NEEL CHATTERJEE (SBN 173985)
                          NChatterjee@goodwinlaw.com
                      2   GOODWIN PROCTER LLP
                      3   601 Marshall Street
                          Redwood City, CA 94063
                      4   Tel. +1 650 752 3100
                          Fax: +1 650 853 1038
                      5
                      6   SHARON R. SMITH, (SBN 221428)
                          SharonSmith@goodwinlaw.com
                      7   MEGAN D. BETTLES (SBN 328161)
                          MBettles@goodwinlaw.com
                      8   GOODWIN PROCTER LLP
                          Three Embarcadero Center, Suite 2800
                      9   San Francisco, CA 94111
                  10      Tel.: +1 415 733 6000
                          Fax: +1 415 677 9041
                  11
                          Attorneys for Defendants
                  12      PASSES, INC. and LUCY GUO
                  13
                  14                       IN THE UNITED STATES DISTRICT COURT

                  15                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

                  16                                    WESTERN DIVISION

                  17
                          FAMOUS BIRTHDAYS, LLC, a                 Case No. 2:24-cv-08364-AS
                  18      California limited liability company,
                                                                   DECLARATION OF MARKUS
                  19                      Plaintiff,               JAKOBSSON, PH.D. IN SUPPORT
                                                                   OF OPPOSITION TO PLAINTIFF’S
                  20            v.                                 MOTION FOR PRELIMINARY
                                                                   INJUNCTION
                  21      PASSES, INC., a Delaware
                          corporation; and LUCY GUO, an            Date:      December 3, 2024
                  22      individual,                              Time:      10:00 a.m.
                                                                   Ctrm.:     8-D
                  23                      Defendants.              Judge:     Hon. Consuelo B. Marshall
                  24                                               Action Filed:    September 27, 2024
                  25
                  26
                                      REDACTED VERSION OF DOCUMENT PROPOSED
                  27                          TO BE FILED UNDER SEAL
                  28
GOODWIN PROCTER LLP
   ATTORNEYS AT LAW
         
               Case 2:24-cv-08364-CBM-SSC         Document 22-1          Filed 11/12/24   Page 2 of 16 Page
                                                       ID #:2510


                      1                 DECLARATION OF MARKUS JAKOBSSON, PH.D.
                      2   I, Markus Jakobsson, Ph.D., hereby state and declare:
                      3         1.      I am a computer and network security expert. I have been retained by
                      4   Lucy Guo (“Ms. Guo”) and Passes, Inc. (“Passes”) to analyze factual information
                      5   relating to certain allegations made by Famous Birthdays, LLC (“Famous
                      6   Birthdays”) in its Motion for a Preliminary Injunction and supporting papers. I
                      7   submit this Declaration in connection with Passes’ Opposition to Plaintiff’s Motion
                      8   for a Preliminary Injunction (the “Opposition”).
                      9         2.      I make this Declaration based upon my own personal knowledge,
                  10      information, and belief, and I would and could competently testify to the matters set
                  11      forth in this Declaration if called upon to do so.
                  12            3.      As I explain in more detail below, based on the information available to
                  13      me to date and my expertise, I’ve reached five conclusions :
                  14             i. Passes did not “surreptitiously extract [the historical rank graph API call]
                  15                 from the Famous Birthdays source code.” Ostrowski Decl., ¶ 29; infra ¶ 22.
                  16            ii. The rank graph API endpoint was not “internal” only to Famous Birthdays.
                  17                 Ostrowski Decl., ¶ 26.
                  18           iii. Passes did not insert anything “amidst Famous Birthdays Pro’s source
                  19                 code,” or otherwise alter Famous Birthdays source code. Ostrowski Decl.,
                  20                 ¶ 27.
                  21           iv. The access log in no way “reflect[s] that Passes used an automated script
                  22                 that pretended to be an authorized human Passes’ user of Famous Birthdays
                  23                 Pro with permission to use Passes’ Famous Birthdays [access].” Ostrowski
                  24                 Decl., ¶ 35.
                  25            v. The list of Famous Birthdays URLs can be compiled by anyone, with or
                  26                 without access to Famous Birthdays Pro services, because Famous
                  27                 Birthdays’ sitemap is public. Ostrowski Decl., ¶ 33.
                  28            Overall, any identification and use of a rank graph API call by Passes was
GOODWIN PROCTER LLP
   ATTORNEYS AT LAW

                                                                     1
         
               Case 2:24-cv-08364-CBM-SSC         Document 22-1       Filed 11/12/24   Page 3 of 16 Page
                                                       ID #:2511


                      1   technologically authorized, reasonable, did not harm any Famous Birthdays’
                      2   computer systems or code, and should have been anticipated by Famous Birthdays.
                      3                       QUALIFICATIONS AND EXPERIENCE
                      4         4.      I have twenty-five years of experience as a security researcher and
                      5   scientist studying phishing, crimeware and mobile security at organizations such as
                      6   PayPal, Palo Alto Research Center (PARC), Qualcomm, RSA Security and
                      7   ByteDance. I have co-founded four digital security startups spanning email fraud
                      8   prevention, user authentication, mobile malware detection and secure user
                      9   messaging. I have a Ph.D. in computer science from the University of California at
                  10      San Diego, as well as master’s degrees from both the University of California at San
                  11      Diego and Lund University in Sweden.
                  12            5.      I hold over 200 patents and more than 200 pending patents, all related
                  13      to computer security, network security, or both. For the entirety of my career, I have
                  14      focused on various issues related to computer and network security. I have been
                  15      retained in numerous cases as an expert in computer science, forensics, and security.
                  16            6.      I am currently the Chief Scientist at Artema Labs, a crypto startup
                  17      concerned with the security and confidentiality of digital representations of
                  18      ownership. My research relates to how to make online transfers of ownership secure
                  19      against abuses of various types, among other things.
                  20            7.      I am also the CEO at ZapFraud, a cybersecurity company that develops
                  21      techniques to detect deceptive emails, such as Business Email Compromise emails.
                  22      At ZapFraud, my research studies and addresses abuse, including social engineering,
                  23      malware and privacy intrusions. My work primarily involves identifying risks,
                  24      developing protocols and user experiences, and evaluating the security of proposed
                  25      approaches.
                  26            8.      I received a Master of Science degree in Computer Engineering from
                  27      the Lund Institute of Technology in Sweden in 1993, a Master of Science degree in
                  28      Computer Science from the University of California at San Diego in 1994, and a
GOODWIN PROCTER LLP
   ATTORNEYS AT LAW

                                                                   -2-
         
               Case 2:24-cv-08364-CBM-SSC         Document 22-1       Filed 11/12/24   Page 4 of 16 Page
                                                       ID #:2512


                      1   Ph.D. in Computer Science from the University of California at San Diego in 1997,
                      2   specializing in Cryptography. During and after my Ph.D. studies, I was also a
                      3   Researcher at the San Diego Supercomputer Center, where I did research on
                      4   authentication and privacy.
                      5         9.     From 1997 to 2001, I was a Member of Technical Staff at Bell Labs,
                      6   where I did research on authentication, privacy, multi-party computation, contract
                      7   exchange, digital commerce including crypto payments, and fraud detection and
                      8   prevention. From 2001 to 2004, I was a Principal Research Scientist at RSA Labs,
                      9   where I worked on predicting future fraud scenarios in commerce and authentication
                  10      and developed solutions to those problems. During that time I predicted the rise of
                  11      what later became known as phishing. I was also an Adjunct Associate Professor in
                  12      the Computer Science department at New York University from 2002 to 2004, where
                  13      I taught cryptographic protocols.
                  14            10.    From 2004 to 2016, I held a faculty position at the Indiana University at
                  15      Bloomington, first as an Associate Professor of Computer Science, Associate
                  16      Professor of Informatics, Associate Professor of Cognitive Science, and Associate
                  17      Director of the Center for Applied Cybersecurity Research (CACR) from 2004 to
                  18      2008; and then as an Adjunct Associate Professor from 2008 to 2016. I was the most
                  19      senior security researcher at Indiana University, where I built a research group
                  20      focused on online fraud and countermeasures, resulting in over 50 publications and
                  21      two books.
                  22            11.    While a professor at Indiana University, I was also employed by Xerox
                  23      PARC, PayPal, and Qualcomm to provide thought leadership to their security groups.
                  24      I was a Principal Scientist at Xerox PARC from 2008 to 2010, a Director and
                  25      Principal Scientist of Consumer Security at PayPal from 2010 to 2013, a Senior
                  26      Director at Qualcomm from 2013 to 2015, Chief Scientist at Agari from 2016 to
                  27      2018, Chief of Security and Data Analytics at Amber Solutions from 2018 to 2020,
                  28      and Chief Scientist at ByteDance from 2020 to 2021.
GOODWIN PROCTER LLP
   ATTORNEYS AT LAW

                                                                   -3-
         
               Case 2:24-cv-08364-CBM-SSC         Document 22-1      Filed 11/12/24   Page 5 of 16 Page
                                                       ID #:2513


                      1         12.    Agari is a cybersecurity company that develops and commercializes
                      2   technology to protect enterprises, their partners and customers from advanced email
                      3   phishing attacks. At Agari, my research studied and addressed trends in online fraud,
                      4   especially as related to email, including problems such as Business Email
                      5   Compromise, Ransomware, and other abuses based on social engineering and
                      6   identity deception. My work primarily involved identifying trends in fraud and
                      7   computing before they affected the market, and developing and testing
                      8   countermeasures, including technological countermeasures, user interaction and
                      9   education.
                  10            13.    Amber Solutions is a cybersecurity company that develops home and
                  11      office automation technologies.     At Amber Solutions, my research addressed
                  12      confidentiality, user interfaces and authentication techniques in the context of
                  13      ubiquitous and wearable computing, and involved the tracking of users, for purposes
                  14      of personalization and emergency response.
                  15            14.    ByteDance is a media company concerned with secure processing of
                  16      data, and is the owner of TikTok. At ByteDance, my research addressed fraud
                  17      prevention, confidentiality, user interfaces and authentication techniques in the
                  18      context of the many products offered by ByteDance.
                  19            15.    I have founded or co-founded several successful computer security
                  20      companies. In 2005 I co-founded RavenWhite Security, a provider of authentication
                  21      solutions, and I am currently its Chief Technical Officer. In 2007 I co-founded
                  22      Extricatus, one of the first companies to address consumer security education. In
                  23      2009 I founded FatSkunk, a provider of mobile malware detection software; I served
                  24      as Chief Technical Officer of FatSkunk from 2009 to 2013, when FatSkunk was
                  25      acquired by Qualcomm and I became a Qualcomm employee. In 2013 I founded
                  26      ZapFraud, a provider of anti-scam technology addressing Business Email
                  27      Compromise, and I am currently its CEO. In 2014 I co-founded RightQuestion, a
                  28      company concerned securing telecommunications. In 2023, I co-founded CSExpert,
GOODWIN PROCTER LLP
   ATTORNEYS AT LAW

                                                                  -4-
         
               Case 2:24-cv-08364-CBM-SSC         Document 22-1       Filed 11/12/24    Page 6 of 16 Page
                                                       ID #:2514


                      1   a security consulting company, and Security Technology, a company addressing
                      2   multiple consumer-facing technology needs, including improvements of targeted
                      3   advertising methods.
                      4          16.   I have additionally served as a member of the fraud advisory board at
                      5   LifeLock (an identity theft protection company); a member of the technical advisory
                      6   board at CellFony (a mobile security company); a member of the technical advisory
                      7   board at PopGiro (a user reputation company); a member of the technical advisory
                      8   board at MobiSocial dba Omlet (a social networking company); and a member of the
                      9   technical advisory board at Cequence Security (an anti-fraud company, previously
                  10      named Stealth Security). I have provided anti-fraud consulting to KommuneData (a
                  11      Danish government entity), J.P. Morgan Chase, PayPal, Boku, and Western Union.
                  12             17.   I have authored six books and over 100 peer-reviewed publications.
                  13             18.   My work has included research in the area of applied security,
                  14      confidentiality, cryptographic protocols, authentication, malware, social engineering,
                  15      usability and fraud prevention.
                  16             19.   I have been engaged as a technical expert in over 75 computer-related
                  17      cases, including numerous cases involving Internet security, mobile security,
                  18      forensics, code analysis, encryption and/or authentication.
                  19                                MATERIALS CONSIDERED
                  20             20.   In forming my opinions, I read the Declaration of Kevin Ostrowski in
                  21      Support of Motion for an Order Issuing a Preliminary Injunction (Dkt. 10-1, the
                  22      “Ostrowski Decl.”) and Declaration of Evan Britton in Support of Plaintiff’s
                  23      Application for Leave to File Under Seal Certain Exhibits to Kevin Ostrowski’s
                  24      Declaration in Support of Motion for an Order Issuing a Preliminary Injunction (Dkt.
                  25      10, the “Britton Sealing Decl.”). I disagree with multiple statements made therein,
                  26      particularly the suggestion that Ms. Guo and Passes engaged in any sort of hacking
                  27      activity.
                  28
GOODWIN PROCTER LLP
   ATTORNEYS AT LAW

                                                                   -5-
         
               Case 2:24-cv-08364-CBM-SSC         Document 22-1        Filed 11/12/24   Page 7 of 16 Page
                                                       ID #:2515


                      1         21.     To prepare the Opposition, I understand that Passes and Ms. Guo
                      2   requested further information from Famous Birthdays and it was not provided.
                      3   Because Famous Birthdays did not provide these documents, I cannot opine on some
                      4   of the exact documents that Famous Birthdays ostensibly relied on in making the
                      5   assertions in the Britton and Ostrowski Declarations.
                      6                                       OPINIONS
                      7         A. FIRST, PASSES DID NOT “EXACT” THE RANK GRAPH API
                      8               ENDPOINT FROM FAMOUS BIRTHDAYS’ SOURCE CODE.
                      9                              Background: API Endpoints
                  10            22.     An API, or an Application Programming Interface, is an interface that
                  11      enables a computer to access data stored on a server, much like how a webpage is
                  12      part of an interface that a person can access data stored on the server. APIs are
                  13      commonly used to enable a service to access other services. An API endpoint is the
                  14      URL that specifies the address of the API, similar to how a webpage is accessed
                  15      through its URL.
                  16           The Rank Graph API Endpoint is Publicly Visible in Network Mode
                  17            23.     Famous Birthdays’ assertion that Passes “surreptitiously extracted
                  18      [historical rank graph API call] from the Famous Birthdays source code” is wrong.
                  19      See Ostrowski Decl., ¶ 29. Nothing needed to be “extracted from the Famous
                  20      Birthdays source code.” The rank graph API endpoint can be readily observed by
                  21      anyone using the Network tab in a browser developer tool, like Chrome Developer
                  22      Tools. This functionality is available to anyone who uses the well-known tools for
                  23      Chrome, a set of tools provided by Google.
                  24            24.     Famous Birthdays’ Mr. Ostrowski also discusses “internal API
                  25      endpoints were not shared with Passes,” and asserts that that “obtain[ing] one of
                  26      th[o]se API endpoints” “can only be done” through “accessing Famous Birthdays’
                  27      backend code or reverse engineering its system.” See Ostrowski Decl., ¶¶ 25, 26.
                  28      Based on the information that I have reviewed, I have no reason to believe that Passes
GOODWIN PROCTER LLP
   ATTORNEYS AT LAW

                                                                   -6-
         
               Case 2:24-cv-08364-CBM-SSC         Document 22-1        Filed 11/12/24    Page 8 of 16 Page
                                                       ID #:2516


                      1   “access[ed] Famous Birthdays’ backend code or reverse engineer[ed] its system.”
                      2   Instead, it is my understanding that Passes identified the rank graph API endpoint by
                      3   using the Network tab in a browser developer tool, like Chrome Developer Tools.
                      4         25.    A person can find this API endpoint with a browser development tool
                      5   without being “sophisticated in computer science” or needing to “pull[] up Famous
                      6   Birthdays source code.” See Ostrowski Decl., ¶ 26. Anybody with a computer
                      7   equipped with a browser can do this. First, a user who logs into Famous Birthdays
                      8   Pro can open its browser’s developer tools and navigate to the “Network” tab. Once
                      9   in the Network tab, the user can view all network activity as it interacts with the page,
                  10      including observing API calls such as data requests and responses between the
                  11      browser and server. By filtering for “XHR” or “Fetch” requests, the user can access
                  12      details like endpoint URLs, request methods, headers, payloads, and server
                  13      responses, providing insight into the data exchange without needing access to the
                  14      underlying code that triggers these interactions.
                  15            26.    Simply viewing network activity, which is displayed in HTML code
                  16      (which is generally readable in plain language), is unrelated to accessing or
                  17      interacting with source code. Viewing network activity involves observing data
                  18      exchanges between the browser and server, while accessing source code requires
                  19      direct interaction with the underlying code that defines how the system operates.
                  20            27.    Part of the reason I conclude Passes did not access Famous Birthdays’
                  21      backend code or reverse engineer its computer system is because the rank graph API
                  22      endpoint is not an “internal” endpoint at all. I describe this further, below. Infra.
                  23      Sec. B.
                  24      Passes’ Identification of the Rank Graph API Endpoint Was Not Surreptitious
                  25            28.    Any access to the Famous Birthdays Pro system or actions taken by
                  26      Passes while logged in was not “surreptitious.” See Ostrowski Decl., ¶ 29. Because
                  27      Passes (a Famous Birthdays Pro user) must provide credentials to log into Famous
                  28      Birthdays Pro, Passes’ access to the Famous Birthdays Pro services is traceable.
GOODWIN PROCTER LLP
   ATTORNEYS AT LAW

                                                                    -7-
         
               Case 2:24-cv-08364-CBM-SSC         Document 22-1         Filed 11/12/24     Page 9 of 16 Page
                                                       ID #:2517


                       1         29.     It is unclear what makes Passes' accesses surreptitious in the minds of
                       2   Famous Birthdays· after all, the accused accesses appear to have been made using
                       3   the web interface that Famous Birthdays developed and there is no indication that
                       4   Passes attempt to hide its access.
                       5         B. SECOND, THE RA K GRAPH API ENDPOINT IS NOT
                       6               INTERNAL.
                       7                   Background: Internal vs. External API Endpoints
                       8         30.     The difference between an "external" (or publicly accessible) API
                       9   endpoint and an "internal" API endpoint lies in who can access the resources behind
                      10   the endpoint. A publicly accessible endpoint can be accessed by a member of the
                      11   public. In contrast, an "internal" API access point can only be accessed by somebody
                      12   authorized to gain full access to the corresponding server, such as a company's
                      13   trusted systems administrator managing the server. This makes it possible to have
                      14   API endpoints that can only be used by select employees. These are typically used
                      15   to enable privileged operations that the public is not granted rights to. The use of the
                      16   term "internal" typically refers to infrastructure which is not directly accessible to
                      17   non-privileged users unless the user engages in some sort of hacking activity to
                      18   circumvent access limitations and is inapplicable here
                      19                                    Internal Endpoint
                  20             31.     Famous Birthdays' characterization of the rank graph API as an
                  21       "internal API endpoint" is incorrect. See Ostrowski Deel., ,r 27.
                  22             32.     The rank graph API appears to be accessible to anybody logged into
                  23       Famous Birthdays Pro. For the rank graph API I am unaware of any information
                  24       suggesting that internal Famous Birthdays employee credentials were required, and
                  25       Famous Birthdays does not provide any evidence to support that assertion.
                  26             33.     Additionally, the rank graph API endpoint has the same structure as the
                  27       other API endpoints that Famous Birthdays admits it provided Passes and other
                  28       customers.       Compare       Ostrowski        Deel.,        Ex.   B
GooDWIN PROCTER LLP
   ATTORNEYS AT LAW

                                                                     -8-
         
              Case 2:24-cv-08364-CBM-SSC          Document 22-1       Filed 11/12/24   Page 10 of 16 Page
                                                       ID #:2518


                       1                                                      ") with Ostrowski Deel., Ex. B ('j
                       2
                       3         34.     Unless there are security restrictions placed on an API endpoint, any
                       4   Famous Birthdays Pro user can then access the API endpoint listed in the HTML
                       5   code simply by calling it manually or through a simple script. Calling an API
                       6   endpoint also does not require knowledge of the Famous Birthdays source code.
                       7         C. THIRD, PASSES DID NOT PLACE THE RANK GRAPH API
                       8               CALL "AMIDST" FAMOUS BIRTHDAYS PRO'S SOURCE
                       9               CODE.
                      10                        Background: API Calls and Source Code
                      11         35.     API calls are also not somehow "inserted in" source code. An API call
                      12   is a request that is sent over a network, to the API, and contains requests for
                      13   information. In the same way that an email that sent from one user to another does
                      14   not become part of the recipient, it is not meaningful to speak of inserting API calls
                      15   in code of a server. Famous Birthdays ' insinuation that someone could alter Famous
                      16   Birthdays' source code by inserting "this API call amidst Famous Birthdays Pro's
                      17   source code " is wrong because API calls are made. See Ostrowski Deel., 1 27.
                      18   Moreover, I have not heard any evidence that Famous Birthdays ' servers have been
                      19   compromised, whether in the context of the accused access or not.
                      20               The API Call Shown in Exhibit C to Ostrowski Declaration
                      21                                Was Not Made by Passes
                      22         36.     Moreover, there is no information provided that indicates that the
                      23   screenshot attached as Exhibit C to the Ostrowski Declaration reflects an API call
                      24   made by Passes. The rank graph API call shown in this screenshot could have been
                      25   made by anyone with access to Famous Birthdays Pro. The "rank graph" reference
                      26   on the fourth row from bottom does not show who or how the page was accessed, but
                      27   the screenshot does show when. Based on the date-stamp of the graph on the page it
                      28   appears that this access was made in October 2024 which I understand was months
GooDWIN PROCTER LLP
   ATTORNEYS AT LAW

                                                                    -9-
         
              Case 2:24-cv-08364-CBM-SSC          Document 22-1       Filed 11/12/24    Page 11 of 16 Page
                                                       ID #:2519


                      1   after Famous Birthdays terminated Passes access. This suggests that the screenshot
                      2   may have been taken by Famous Birthdays, reflecting their own access to their own
                      3   system and their own use of the rank graph API call.
                      4          Exhibit C Does Not Show Any of Famous Birthdays’ Source Code
                      5         37.    I strongly disagree with Mr. Ostrowski’s assertion this screenshot
                      6   “show[s] this internal API call amidst Famous Birthdays Pro’s source code.” See
                      7   Ostrowski Decl., ¶ 27, Ex. C. Mr. Ostrowski’s statement demonstrates a fundamental
                      8   misunderstanding how API calls work. This screenshot shows somebody accessing
                      9   a particular page on Famous Birthdays Pro, while using the Network tab in Chrome
                  10      Developer Tools. This is functionality available to anyone who uses the well-known
                  11      tools for Chrome, a set of tools provided by Google. On the right side, a set of web
                  12      server requests are shown, along with their status (e.g., 200, which is also referred to
                  13      as HTML 200 OK, and which corresponds to a request that was accepted).
                  14            38.    The HTML code shown in the Network tab is not in any way the same
                  15      as “Famous Birthdays source code.” See Ostrowski Decl., ¶ 27, Ex. C; see also supra
                  16      at ¶¶ 25-27. This screenshot does not show any source code at all. As such, I disagree
                  17      that “[t]his screenshot also shows back-end source code that populates Famous
                  18      Birthdays Pro.” See Britton Sealing Decl., ¶ 7.
                  19               There Is No Evidence that Passes’ Use of the Rank Graph API
                  20                           Altered Famous Birthdays’ Source Code
                  21            39.     Famous Birthdays’ evidence does not suggest or indicate in any way
                  22      that Passes introduced any API or in any way altered Famous Birthdays source code.
                  23      The excepted use of the Famous Birthdays rank graph API call by Passes would not
                  24      alter Famous Birthdays source code, and I have not seen any evidence to the contrary.
                  25      The apparent functionality of the Famous Birthdays rank graph API is to provide
                  26      access to information related to a specific public figure with a profile in Famous
                  27      Birthdays’ database, such as whether the public figure is trending upwards or
                  28      downwards in popularity, the public figure’s social media handles.
GOODWIN PROCTER LLP
   ATTORNEYS AT LAW

                                                                   - 10 -
         
              Case 2:24-cv-08364-CBM-SSC          Document 22-1       Filed 11/12/24   Page 12 of 16 Page
                                                       ID #:2520


                      1         D. FOURTH, FAMOUS BIRTHDAYS’ ACCESS LOGS DO NOT
                      2               SHOW PASSES “PRETEND[ING] TO BE AN AUTHORIZED
                      3               HUMAN” OR SHOW “PASSES MADE VERBATIM COPIES OF
                      4               THE WORKS.”
                      5                                 Background: Access Log
                      6         40.      An access log comprises a list of records, each record corresponding to
                      7   one request. There can be logs corresponding to webpage based requests (which are
                      8   made as a webpage is rendered on a user browser) or based on requests to APIs. A
                      9   record of an access log typically indicates the IP address from which the request was
                  10      made, the time of the request, what the request was, and whether the request was
                  11      successful. Access logs can also contain information about what user or process is
                  12      making the request. Most web servers are configured to automatically generate
                  13      access logs.
                  14                          The Access Log Only Shows API Calls Made
                  15            41.      I disagree with Famous Birthdays’ assertion that “[t]he access logs
                  16      reflect that Passes used an automated script that pretended to be an authorized human
                  17      Passes user of Famous Birthdays Pro with permission to use Passes’ Famous
                  18      Birthdays API token.” See Ostrowski Decl., ¶ 35. Famous Birthdays provided no
                  19      explanation for how an automated script can “pretend” to be a human and provided
                  20      no evidentiary support for its assertion that the script “pretended” to be a human.
                  21            42.      To the extent that Famous Birthdays indicate that they use some form
                  22      of technology that distinguishes automated accesses from human-initiated accesses
                  23      (such as a CAPTCHA does), I am not aware of Famous Birthdays using any such
                  24      technology on its website. It would, however, be bizarre to have a CAPTCHA to
                  25      verify that an API access corresponds to a human, since the very intention of an API
                  26      is to act as an interface to other computers. If the APIs on Famous Birthdays Pro’s
                  27      website had such controls, it would render the APIs practically useless for any of
                  28      their customers.     To the extent, however, that they do have such a control
GOODWIN PROCTER LLP
   ATTORNEYS AT LAW

                                                                   - 11 -
         
              Case 2:24-cv-08364-CBM-SSC          Document 22-1       Filed 11/12/24   Page 13 of 16 Page
                                                       ID #:2521


                      1   implemented, I have not been made aware of any evidence that it was violated by
                      2   Passes.
                      3         43.     I also disagree with Famous Birthdays’ assertion that “Famous
                      4   Birthdays has server logs demonstrating Passes made verbatim copies of the Works.”
                      5   Motion at 25:10-11. The only log provided by Famous Birthdays is the access log
                      6   attached as Exhibit D to the Ostrowski Declaration. That log does not demonstrate
                      7   that Passes made any copies, instead it shows a list of records of requests to the rank
                      8   graph API endpoint. In fact, since the access logs are made by the server (e.g.,
                      9   Famous Birthdays’ server) and a potential copy of received information is supposedly
                  10      made by the party accessing the server (i.e., on a remote system to which the server
                  11      does not have any insight into how received data is processed) it is a very strange
                  12      assertion that the logs indicate that copying was made.
                  13            E. FIFTH, THE SITEMAP FOR FAMOUS BIRTHDAYS’ WEBSITE IS
                  14                  PUBLIC.
                  15                                     Background: Sitemap
                  16            44.     A sitemap is a file that provides a structured list of all the important
                  17      pages on a website, helping search engines understand and efficiently crawl its
                  18      content. It can also include metadata about each page, such as when it was last
                  19      updated and its relevance. Many companies keep their sitemaps hidden or restrict
                  20      access if they do not want certain information to be publicly available. This can be
                  21      achieved by placing the sitemaps in non-public directories or employing other
                  22      methods to limit visibility, ensuring that sensitive data about their site's structure
                  23      remains private and less discoverable.
                  24        Any Member of the Public Can Obtain a List of Famous Birthdays’ URLs.
                  25            45.     Famous Birthdays similarly failed to take any security measures to hide
                  26      its sitemap for its public website, https://www.famousbirthdays.com/. As such, I also
                  27      disagree with Famous Birthdays’ assertion that “The only way Defendants could
                  28      have accessed our URL list is by seeking to exploit our sitemap.” See Ostrowski
GOODWIN PROCTER LLP
   ATTORNEYS AT LAW

                                                                   - 12 -
         
              Case 2:24-cv-08364-CBM-SSC          Document 22-1      Filed 11/12/24   Page 14 of 16 Page
                                                       ID #:2522


                      1   Decl., ¶ 33. The URL list can be compiled by any member of the public simply by
                      2   accessing the HTML that the servers of Famous Birthdays transmit to users as part
                      3   of their regular operation. Famous Birthdays could restrict access to its URL list by
                      4   not exposing it to the public but instead maintain the sitemap internally only.
                      5   However, Famous Birthdays did not restrict access for Passes, or the public for that
                      6   matter. Any member of the public, even without any access to Famous Birthdays
                      7   Pro, can access this information by:
                      8         i. Navigating to Famous Birthdays robots.txt page, which indicates what data
                      9            should and should not be indexed by search engines. This page is located
                  10               at https://www.famousbirthdays.com/robots.txt. A robots.txt file is a text
                  11               file (or “policy”) that website administrators create to instruct search
                  12               engines on how to interact with their website’s pages. It is placed (or
                  13               published) in the root directory of a website and specifies which parts of
                  14               the site should or should not be accessed by automated bots. In this context,
                  15               an indexed page can be found by a search engine based on its content, while
                  16               a non-indexed page remains “unknown” to the search engine. A robots.txt
                  17               policy does not express or enforce what pages a user may request, but
                  18               simply provides guidance to search engines as to what information show
                  19               and should not be indexed. The last line of the page containing the
                  20               robots.txt policy says, “Sitemap: https://www.famousbirthdays.com/fb-
                  21               sitemap.xml”. This conveys to any member of the public viewing the
                  22               robots.txt policy that the server hosts a page that, based on its naming, is
                  23               the sitemap of Famous Birthdays. Since robots.txt policies are publicly
                  24               accessible, the Famous Birthdays site map is also publicly visible.
                  25
                  26
                  27
                  28
GOODWIN PROCTER LLP
   ATTORNEYS AT LAW

                                                                  - 13 -
         
              Case 2:24-cv-08364-CBM-SSC          Document 22-1                                                   Filed 11/12/24            Page 15 of 16 Page
                                                       ID #:2523


                      1                                   )f famousbirthdays.com/ robots.l>                  X        +

                      2                                    ➔        C                     ~. famou sbirthdays.com/ robots.txt


                      3
                                                 DD
                                                 DD



                                                User- agent:          *
                      4                         Disallow : /p eople/ edits
                                                Disallow : /groups/ edits
                                                Disa ll O\.: / api /
                      5                         Disall01,: / app/
                                                Disa l l ow: /se arch
                                                Disa l l ow : / random

                      6                         Disa ll 01,: /ra nd om -group/
                                                Disa l l ow : /p eople/@
                                                Disa l l ow : /p end i ng /
                                                Disa ll 01,: /people/ us e rl
                      7                         Disa l l O\\I : /p e ople/ user2
                                                Disa ll 01,: /p eople/ use r3
                                                DisallO\\I : /people/user4
                      8                         Disa ll 01,: /p eople/ users
                                                Disa l l O\'I' : /p e ople/ use r6
                                                Disall01,: /people/ user7
                      9                         Disa l l ow : /p e ople/ user8
                                                Disallow: /p e ople/ us e r9
                                                Disa l l O\\I : /co nt ac t /s ubmit

                  10
                                                Disa ll01,: /206027 51/
                                                DisallO\'I' : /doublec lic k/
                                                Disall01,: /t humbna il s/
                                                Sitemap: htt ps : //i,ruw. f amousbirthdays. com/fb - sitemap. xml
                  11
                  12
                  13        ii. After        viewing                        the               robots.txt                          policy,   a     user      could   enter
                  14           https://www.famousbirthdays.com/fb-sitemap.xml into their web browser
                  15           would receive the following web page in response:
                  16                           lf- famousb irthdays.com/fb•site rr-   X     +

                                         ~     ➔      C      Gil     ~; famo usbirthdays.com/ fb -sitemap.xm l

                  17                    DD
                                        DD




                  18                    This XML file does not appear to have any style information associated with it. The document tree is shown below.

                                        T <si te111apindex xmlns =" http: / /www.sit emaps.org/schemas/si temap/0 . 9 ">
                                          •< sitemap>

                  19                           <loc> https: / / www.famousbi r thdays.com/ f b - sitemap-1.xm l. gz </loc>
                                            </sitemap>
                                          T <sitemap>
                                               <loc> https: / / www .famousbirthdays . com/fb- si temap - 2. xm l . gz< / loc >

                  20
                                            </sitemap>
                                          T< sitemap>
                                               <loc> https: / /www .famousbi r thdays.com/ f b · sitemap-3 .xml . gz </loc>
                                            </sitemap>
                                          T<s itemap>
                  21                           <loc> https: / / wivw . famousbirthdays . com/ f b- sitemap-4 .xrnl. gz </loc>
                                            </sitemap>
                                          T( sitemap>
                                               <loc> https: / /www .famousbirthdays.com/ f b- sitemap-5 .xml . gz </loc>

                  22                        </sitemap>
                                          T< sitemap>
                                               <loc> https: / /l'flvw . famou sbi r thdays . com/ f b • si temap-6. xrnl. gz </loc >
                                            </sitemap>

                  23
                                          T< sitemap>
                                               <loc> https: / / www.famousbirthdays.com/ fb- si temap- 7 .xm l . gz </loc>
                                            </sitema p>
                                          T< sitemap>
                                               <loc> https: / /l'flvw . famousbirthdays . com/ f b - sitemap-8 .xm l . gz </loc>
                  24                        </sitemap>
                                          T< sitemap>
                                               <loc> https: / / www . famousbirthdays.com/ f b- sitemap-9 .xm l . gz </ loc >
                                            </sitemap>

                  25                      T< sitemap>
                                               <loc> https: / / www .famousbi r thdays . com/ f b- sitemap-10 .xml. gz</loc>
                                            </sitemap>
                                          T< sitemap>

                  26
                                               <loc> https: / /l"MW . famousbirthdays . com/ f b- si temap-11.xml . gz </loc>
                                            </sitemap>
                                          </sitemapindex>



                  27       iii. Entering any of the listed XML URLs in a browser will display the XML
                  28           document containing a list of URL links.
GOODWIN PROCTER LLP
   ATTORNEYS AT LAW

                                                                                                         - 14 -
         
              Case 2:24-cv-08364-CBM-SSC          Document 22-1      Filed 11/12/24   Page 16 of 16 Page
                                                       ID #:2524


                      1   This information is available to anyone using the internet. Famous Birthdays elected
                      2   not to place any security measures on members of the public accessing their sitemap.
                      3   A member of the public accessing the public sitemap absolutely is not “exploit[ing].”
                      4                                       SUMMARY
                      5         46.    In summary, based on the evidence that I reviewed and that my
                      6   professional experience, Passes only accessed Famous Birthdays’ information that
                      7   was accessible through the public Famous Birthdays website or through the Famous
                      8   Birthdays Pro website by using the credentials and/or a token that Famous Birthdays
                      9   provided to Passes.
                  10            47.    Further, Famous Birthdays’ assertions that Passes “surreptitiously
                  11      extract[ed] [historical rank graph API call] from the Famous Birthdays source code,”
                  12      or somehow inserted the rank graph API call “amidst Famous Birthdays Pro’s source
                  13      code,” are ludicrous, inconsistent with the technical process of making API calls, and
                  14      entirely unsupported by evidence. Ostrowski Decl., ¶¶ 27, 29.
                  15            I declare under penalty of perjury under the laws of the United States of
                  16      America that the foregoing is true and correct.
                  17            Executed on November 12, 2024.
                  18
                  19
                                                                            MARKUS JAKOBSSON
                  20
                  21
                  22
                  23
                  24
                  25
                  26
                  27
                  28
GOODWIN PROCTER LLP
   ATTORNEYS AT LAW

                                                                  - 15 -
